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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND            Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION             MDL No. 2570
_________________________________________

This Document Relates Only to the Following Cases:

Auerbach, Benjamin, 1:17-cv-04218
_________________________________________




                DEFENDANTS’ MOTION FOR JUDGMENT IN
       PLAINTIFF BENJAMIN AUERBACH’S CASE PURSUANT TO CMO-28
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        Under Fed. R. Civ. P. 12(c) and CMO-28, the Cook Defendants move for judgment in

Plaintiff’s case, which alleges as his injury perforation and open removal of his filter.

        1.      Plaintiff’s Name: Benjamin Auerbach

        2.      Case Number: 1:17-cv-04218

        3.      Case Origin: Filed in the Southern District of Indiana

        4.      Plaintiff’s Home State per Complaint: Illinois (Plaintiff’s residence at time of filter
                placement and current residence); Wisconsin (residence at time of injury)1

        5.      Applicable Choice of Law Rules: Illinois

        6.      Applicable Statute of Limitations: Illinois (2 years), 735 Ill. Comp. Stat. § 5/13-
                213 (“[T]he plaintiff may bring an action within 2 years after the date on which the
                claimant knew, or through the use of reasonable diligence should have known, of
                the existence of the personal injury, death or property damage . . . .”).

        7.      Filter Placement Date: July 21, 2008

        8.      Latest Possible Date of Accrual: June 9, 2011 (see Case Categorization Form and
                accompanying medical records, attached as Exhibit A and filed under seal noting:
                “Explant of inferior vena cava filter and primary repair of the inferior vena cava.”).2

        9.      Filing Date: November 13, 2017

        10.     Length of Time Between Filter Placement and Filing: 9 years, 3 months, 23 days

        11.     Length of Time Between Claim Accrual and Filing: 6 years, 5 months, 4 days

                                         BRIEF ARGUMENT

        Plaintiff represents he would have filed the case in the Northern District of Illinois absent

direct filing. See Pl.’s Short-Form Compl., ¶ 7. Plaintiff’s claims are therefore governed by the

two-year statute of limitations in Illinois “because statutes of limitations are procedural [under



1
   Plaintiff’s open removal procedure was performed at Northwestern Memorial Hospital in Chicago,
Illinois. See Exhibit A.
2
  The Court may consider categorization forms and supporting records on a 12(c) motion when reviewing
a CMO-28 motion. See Dkt. 18018 (“Plaintiff’s operative report is considered part of the pleadings . . . .”).


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Illinois law], fixing the time in which the remedy for a wrong may be sought rather than altering

substantive rights.” Ennenga v. Starns, 677 F.3d 766, 774-775 (7th Cir. 2012); see also Paulsen

v. Abbott Labs., ___ F.4th ___, 2022 WL 2582367, at *2 (7th Cir. July 8, 2022) (same).

        Illinois law bars Plaintiff’s personal injury claims because he did not file his case until

more than six years after an open removal surgery to remove his filter.3 See supra, ¶¶ 8-9, 11.

Under Illinois law, the statute of limitations accrues at the time the plaintiff is injured. Hutson v.

Hartke, 686 N.E.2d 734, 736 (Ill. App. Ct. 1997). For purposes of the accrual date, the “discovery

rule postpones the commencement of the statute of limitations until the injured plaintiff knows or

reasonably should know that she has been injured and that her injury was wrongfully caused.” Id.

As this Court explained in its decision in Bowen, “[t]his occurs when [the plaintiff] ‘possesses

sufficient information concerning [an] injury and its cause to put a reasonable person on inquiry

to determine whether actionable conduct is involved.”’ Dkt. 19302 at 2 (quoting Hoffman v.

Orthopedic Sys, Inc., 765 N.E.2d 116, 122 (Ill. Ct. App. 2002)). In Bowen, the plaintiff underwent

a painful failed removal attempt that was aborted at her request because “the amount of tension

required to release the filter from the wall was unbearable.” Dkt. 19302 at 2. “At this point, [the

plaintiff] had sufficient information to put her on notice that she must inquire into her rights. That

is all that is required to trigger the statute of limitations.” Id; see also Dkt. 7715 at 3 (granting

summary judgment on time-barred product liability claims in Gage bellwether because the plaintiff

experienced pain almost immediately after placement that was attributed, in part, to the filter).

        Here, Plaintiff’s claims accrued no later than June 9, 2011, the date of Plaintiff’s open

procedure.    See Exhibit A.     Specifically, after Plaintiff presented with “severe progressive


3
  Plaintiff’s claims would also be barred under the three-year statute of limitations in Wisconsin, where
Plaintiff resided at the time of injury. See Short-Form Compl, ¶ 5; Wis. Stat. § 893.54. Wisconsin’s
discovery rule is similar to Illinois law. See Gumz v. Northern States Power Co., 742 N.W.2d 271, 276
(Wis. 2007).


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abdominal pain,” his physician noted “perforation through the wall of the cava and into what

appeared to be the duodenum.” Id. “Given these findings and the superior abdominal pain, [he]

discussed with [the family] the risks and benefits of observation versus surgical removal of the

filter.” Id. Plaintiff and his “family agreed to surgical explant [of] the IVC filter.” Id. Because

Plaintiff experienced abdominal pain that was attributed to the filter and elected to undergo an

open removal procedure, Plaintiff had sufficient information to put him “on notice that [he] must

inquire into [his] rights” no later than the June 9, 2011 open removal procedure. Dkt. 19302 at 2

(finding that a failed removal procedure triggered accrual of the statute of limitations under Illinois

law); Hoffman, 765 N.E.2d at 122. Indeed, this Court has found that an open removal procedure

triggered the statute of limitations in multiple prior cases from other states. See e.g., Dkts. 18018

(Ohio law); 18365 (Arizona) & 18542 (Georgia). Here, by the time Plaintiff filed the case on

November 13, 2017, his product liability claims had been barred by more than four years.

         Plaintiff’s implied warranty claim fails under Illinois law because it is subject to a four-

year statute of limitations that is measured from the date of delivery, see 810 Ill. Comp. Stat. 5/2-

725, and Plaintiff filed this action more than nine years after receiving his filter, see supra, ¶¶ 7,

9, 11.

         Plaintiff’s consumer protection and express warranty claims fail as well. The Court has

ruled that these claims are not adequately pled in the Master Complaint. See Dkt. 14809 at 10

(“Plaintiff’s vague and generalized allegations fail to provide any details regarding the alleged

misrepresentations as required by Rule 9(b).”); Dkt. 4918 at 13-15 (finding that the Master

Complaint fails to plead an adequate claim for express warranty). Plaintiff’s Short-Form

Complaint does not add any substantive facts to save these claims. Thus, Plaintiff has failed to

plead a viable state consumer-protection claim or a viable express warranty claim. Plaintiff’s




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claim for punitive damages fails as derivative.

       For the foregoing reasons, the Court should dismiss Plaintiff’s case with prejudice.

                                                  Respectfully submitted,


Dated: August 10, 2022                            /s/ Jessica Benson Cox
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                                                  ApS


                                CERTIFICATE OF SERVICE

       I hereby certify that on August 10, 2022, a copy of the foregoing DEFENDANTS’

MOTION FOR JUDGMENT IN PLAINTIFF BENJAMIN AUERBACH’S CASE

PURSUANT TO CMO-28 was filed electronically, and notice of the filing of this document will

be sent to all parties by operation of the Court’s electronic filing system to CM/ECF participants

registered to receive service in this matter. Parties may access this filing through the Court’s

system.



                                                      /s/ Jessica Benson Cox




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